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                                                                 USDC SDNY
UNITED STATES DISTRICT COURT                                     DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                    ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                        DOC #: _________________
                                                                 DATE FILED: _10/19/2020___
              -against-

DANIEL RAMOS,                                                           18 Cr. 852 (AT)
     a/k/a “Danny Ramos,”
                                                                            ORDER
                       Defendant.
ANALISA TORRES, District Judge:

      On October 16, 2020, Defendant filed a letter seeking relief under 18 U.S.C. § 3582(c).
ECF No. 33. It is ORDERED that by October 23, 2020, the Government shall respond to
Defendant’s letter.

       SO ORDERED.

Dated: October 19, 2020
       New York, New York
